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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                              PLAINTIFF

v.                                  No. 4:14CR00191-06 JLH

MEGAN RILEY OXLEY                                                                   DEFENDANT

                                             ORDER

       Megan Riley Oxley has filed a motion for hardship credit for hardtime served in which she

requests that the Court give two days’ credit for every day served in the Pulaski County Jail. A

district court does not have authority to award credit for time served; rather, that authority is

delegated to the Bureau of Prisons. United States v. Pardue, 363 F.3d 695, 699 (8th Cir. 2004).

Administrative procedures exist within the Bureau of Prisons to review and make determinations

of the amount of credit that should be awarded for time served. Id. After administrative remedies

are exhausted, prisoners may seek judicial review of any jail-time credit determination by filing a

habeas petition under 28 U.S.C. § 2241 in the district where the prisoner is incarcerated. Id.

       The motion is DENIED. Document #1075.

       IT IS SO ORDERED this 26th day of October, 2017.




                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE
